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                        UNITED STATES DISTRICT COURT
                        SOUTHERN DISTRICT OF FLORIDA
                          WEST PALM BEACH DIVISION

                          CASE NO. 22-81294-CIV-CANNON

   DONALD J. TRUMP,

         Plaintiff,

   v.

   UNITED STATES OF AMERICA,

         Defendant.

   ____________________________________/

                     DONALD J. TRUMP’S RESPONSE IN
                    OPPOSITION TO THE UNITED STATES’
                MOTION FOR A PARTIAL STAY PENDING APPEAL

   I.    INTRODUCTION

         This investigation of the 45th President of the United States is both

   unprecedented and misguided. In what at its core is a document storage dispute that

   has spiraled out of control, the Government wrongfully seeks to criminalize the

   possession by the 45th President of his own Presidential and personal records. By

   way of its Motion [ECF No. 69], the Government now seeks to limit the scope of any

   review of its investigative conduct and presuppose the outcome, at least as regards to

   what it deems are “classified records.” However, the Court’s Order [ECF No. 64] is a

   sensible preliminary step towards restoring order from chaos. The Government

   should therefore not be permitted to skip the process and proceed straight to a

   preordained conclusion.
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         The Government’s request with regard to this Court’s Order is two-fold:

         Specifically, the [G]overnment seeks a stay to the extent the Order (1)
         enjoins the further review and use for criminal investigative purposes of
         records bearing classification markings that were recovered pursuant to
         a court-authorized search warrant and (2) requires the [G]overnment to
         disclose those classified records to a special master for review.

   [ECF No. 69 at 1].1 This request demonstrates the Government has misinterpreted

   the Order as a prohibition on conducting a national security assessment. That

   reading is, however, misplaced as the Court made clear such assessment may

   proceed.

         The Government generally points to the alleged urgent need to conduct a risk

   assessment of possible unauthorized disclosure of purported “classified records.” But

   there is no indication any purported “classified records” were disclosed to anyone.

   Indeed, it appears such “classified records,” along with the other seized materials,

   were principally located in storage boxes in a locked room at Mar-a-Lago, a secure,

   controlled access compound utilized regularly to conduct the official business of the




   1 The Government is apparently not concerned with unauthorized leaks regarding
   the contents of the purported “classified records,” see, e.g., Devlin Barrett and Carol
   D. Leonnig, Material on foreign nation’s nuclear capabilities seized at Trump’s Mar-
   a-Lago, WASH. POST (Sept. 6, 2022), https://www.washingtonpost.com/national-
   security/2022/09/06/trump-nuclear-documents/, and would presumably be prepared
   to share all such records publicly in any future jury trial. However, the Government
   advances the untenable position in its Motion that the secure review by a Court
   appointed and supervised special master under controlled access conditions is
   somehow problematic and poses a risk to national security.

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   United States during the Trump Presidency, which to this day is monitored by the

   United States Secret Service. 2

          Moreover, the ultimate disposition of all the “classified records,” and likely

   most of the seized materials, is indisputably governed exclusively by the provisions

   of the Presidential Records Act (“PRA”). See 44 U.S.C. §§ 2201, et seq. The PRA

   accords any President extraordinary discretion to categorize all his or her records as

   either Presidential or personal records, and established case law provides for very

   limited judicial oversight over such categorization. The PRA further contains no

   provision authorizing or allowing for any criminal enforcement. Rather, disputes

   regarding the disposition of any Presidential record are to be resolved between such

   President and the National Archives and Records Administration (“NARA”). Thus, at

   best, the Government might ultimately be able to establish certain Presidential

   records should be returned to NARA. What is clear regarding all of the seized

   materials is that they belong with either President Trump (as his personal property

   to be returned pursuant to Rule 41(g)) or with NARA, but not with the Department

   of Justice.

          However, it is not even possible for this Court, or anyone else for that matter,

   to make any determination as to which documents and other items belong where and



   2 There was seemingly no similar sense of urgency or imminent threat to national
   security associated with the purported “classified records” contained in the fifteen
   boxes of materials President Trump voluntarily turned over in January 2022, even
   though such records formed the alleged basis for the institution of the current
   criminal investigation. Likewise, there was no similar sense of urgency or imminent
   threat associated with the “classified records” President Trump’s counsel voluntarily
   turned over on June 3, 2022.
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   with whom without first conducting a thoughtful, organized review. Recognizing this,

   the Court exercised its equitable jurisdiction and inherent supervisory authority to

   “ensure at least the appearance of fairness and integrity under the extraordinary

   circumstances presented.” Order [ECF No. 64 at 1]. The Government now advances

   the same arguments previously rejected in an attempt to persuade the Court to

   reconsider. For several reasons, the Government has not demonstrated in its Motion

   any entitlement to relief.

         First, the Government’s position incorrectly presumes the outcome—that its

   separation of these documents is inviolable and not subject to question by this Court

   or anyone else. Second, the Government’s stance assumes that if a document has a

   classification marking, it remains classified irrespective of any actions taken during

   President Trump's term in office. Third, as noted above, the Government continues

   to ignore the significance of the PRA. Indeed, if any seized documents (including any

   purported “classified records”) are Presidential records, President Trump (or his

   designee, including a neutral designee such as a special master) has an absolute right

   of access to same under the PRA. 44 U.S.C. § 2205(3). Accordingly, President Trump

   (and, by extension, a requested special master) cannot be denied access to those

   documents.

         In addition, the Government’s claims of “irreparable harm” to the Government

   “and the public” [ECF No. 69 at 2] appear exaggerated. In seeking the extraordinary

   relief of this Court staying its own order, the Government once again brushes off any

   measure of judicial involvement. The Government argues that the Intelligence


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   Community review of documents now solely in the FBI’s possession cannot withstand

   a brief pause. Moreover, the Government contends that the FBI and ODNI, and their

   personnel, are so inseparable they are incapable of having agents outside the criminal

   case participate in the ODNI-led investigation. This convenient, and belated, claim

   by the Government relative to enjoining the criminal team’s access to these

   documents only arises because the FBI concedes [ECF No. 69-1] the Intelligence

   Community review is actually just another facet of its criminal investigation.

   [See ECF No. 69-1]. Indeed, the declaration that “the IC assessments necessarily will

   inform the FBI’s criminal investigation,” id. at 4, effectively concedes the intelligence

   review is in fact part of that criminal investigation.3

         In short, the merits of this matter do not support staying the Court’s Order

   pending the Government’s appeal. Accordingly, and in light of the remaining stay

   factors, the Court should deny the Government’s motion.

   II.   APPLICABLE LAW

         A stay pending appeal is an “extraordinary” remedy for a court to invoke,

   Williams v. Zbaraz, 442. U.S. 1309, 1311 (1979), and the applicant bears an

   “especially heavy” burden of proving that such relief is warranted, Packwood v.

   Senate Select Comm. on Ethics, 510 U.S. 1319, 1320 (1994). To establish entitlement

   to a stay pending appeal, the Government must: (1) make a strong showing that it is




         3 Of course, as the Order contemplates, to the extent there is any legitimate
   national security interest at issue, the Government is free to proceed. Likewise,
   President Trump has no interest in impeding any action which advances the national
   security interests of the United States.
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   likely to succeed on the merits; (2) demonstrate irreparable injury absent a stay; (3)

   demonstrate an absence of substantial injury to the other parties interested in the

   proceeding; and (4) show that public interest supports the stay. Nken v. Holder, 556

   U.S. 418, 426 (2009). “A stay is an ‘intrusion into the ordinary processes of

   administration and judicial review,’ and accordingly ‘is not a matter of right, even if

   irreparable injury might otherwise result to the appellant[.]’” Id. (citations omitted)

   (quoting Va. Petroleum Jobbers Ass’n v. FPC, 259 F.2d 921, 925 (D.C. Cir. 1958) (per

   curiam), and Virginian R. Co. v. United States, 272 U.S. 658, 672 (1926)). The first

   two prongs are the “most critical”—the likelihood of success must be “better than

   negligible” and “simply showing some possibility of irreparable injury fails to satisfy

   the second factor.” Id. at 434–35 (citations and quotations omitted); see also Ruiz v.

   Estelle, 650 F.2d 555, 565-66 (5th Cir. 1981) (“[I]f the balance of equities . . . is not

   heavily tilted in the movant’s favor, the movant must then make a more substantial

   showing of likelihood of success on the merits in order to obtain a stay pending

   appeal.”).

   III.   PRESIDENT TRUMP IS LIKELY TO SUCCEED ON THE MERITS

          The Government’s Motion and appeal appear to presume the outcome of its

   review of the materials seized from President Trump. Critically, though, the Court’s

   Order is not a resolution of the ultimate merits of any argument raised by either

   President Trump or the Government. Rather, it merely directs the appointment of a

   neutral party to review the seized materials and, in conjunction, temporarily, and

   reasonably, precludes further use of the seized materials in the Government’s


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   criminal investigation while that neutral review is ongoing. The Government is not

   likely to succeed on the merits of its appeal—even with respect to any subset of

   documents—because the Court reasonably exercised its equitable jurisdiction in

   adopting these appropriate measures.

          A.     The Court has the power to appoint a special master and enjoin
                 the Government’s review.

          This Court was correct in exercising its equitable jurisdiction. See Richey v.

   Smith, 515 F.2d 1239 (5th Cir. 1975). In Richey, the case upon which this Court relied

   in its Order, the former Fifth Circuit set forth a series of factors to consider in relation

   to the exercise of equitable jurisdiction. See id. at 1245. The non-exhaustive list of

   factors include: (1) whether the government displayed a callous disregard for the

   movant’s constitutional rights; (2) whether the movant has an individual interest in

   and need for the seized property; (3) whether the movant would be irreparably injured

   by denial of the return of the seized property; and (4) whether the movant otherwise

   has an adequate remedy at law. Id. In reviewing President Trump’s Motion for

   Judicial Oversight, this Court rightly found that while there has not yet been a

   demonstration of a callous disregard for President Trump’s constitutional rights to

   date, the remaining three factors weighed in favor of exercising jurisdiction. [ECF

   No. 64 at 8-12].

          President Trump clearly has an individual interest in and need for the seized

   property. The record reflects the material seized from President Trump’s home

   includes not just “personal effects without evidentiary value” but also approximately

   five hundred pages of material that is likely subject to attorney-client privilege, as

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   well as medical documents, and tax and accounting information. [ECF Nos. 40-2, 48].

   The Government contends that President Trump can have no such interest in the

   purported "classified records." But, again, the Government has not proven these

   records remain classified. That issue is to be determined later.

           Moreover, under the PRA, President Trump has specified rights to restrict

   access to his Presidential records, 44 U.S.C. § 2204, and an absolute right to access

   (or have his designee access) those Presidential records, 44 U.S.C. § 2205(3). These

   rights accord President Trump a sufficient interest in all of the seized materials.

   Indeed, as developed below, President Trump's categorization of records during his

   term was within his sole discretion.

           There is also a risk of irreparable injury to President Trump if the documents

   are not first reviewed by a neutral third party. As correctly stated by this Court,

   President Trump “faces an unquantifiable potential harm by way of improper

   disclosure of sensitive information to the public.” [ECF No. 64 at 9-10]. This is

   evidenced by various media reports in recent days regarding the contents of

   purportedly “classified” documents seized by the Government.4 Irreparable injury

   could most certainly occur if the Government were permitted to improperly use the

   documents seized. As this Court aptly stated:

           As a function of [President Trump’s] former position as President of the
           United States, the stigma associated with the subject seizure is in a
           league of its own. A future indictment, based to any degree on property
           that ought to be returned, would result in reputational harm of a
           decidedly different order of magnitude.



   4   See Barret and Leonnig, supra note 1.
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   [ECF No. 64 at 10].

         Finally, President Trump has no alternative adequate remedy at law. This

   Court correctly determined that “without Rule 41(g), [President Trump] would have

   no legal means of seeking the return of his property for the time being and no

   knowledge of when other relief might become available.” [ECF No. 64 at 10-11].

         The Government claims this Court cannot enjoin use of the documents the

   Government has determined are classified. [ECF No. 69 at 5-8]. Therefore, the

   argument goes, as President Trump has no right to have the documents returned to

   him—because the Government has unilaterally determined they are classified—the

   Government should be permitted to continue to use them, in conjunction with the

   intelligence communities, to build a criminal case against him.

         However, there still remains a disagreement as to the classification status of

   the documents.    The Government’s position therefore assumes a fact not yet

   established. This Court’s Order exercising jurisdiction did not make findings as to

   the classification status of any documents. Further, whether it was lawful for the

   Government to seize those documents has yet to be determined by a court of

   competent jurisdiction. But that ultimate determination is an issue separate from

   this Court’s Order and whether a stay pending appeal is necessary.5



   5 Despite the Government’s attempts to paint the ruling as a finding on the
   substantive merits of President Trump’s claim, this Court noted the limits of its
   Order:

                The Court pauses briefly to emphasize the limits of this
                determination. [President Trump] ultimately may not be entitled
                to return of much of the seized property or to prevail on his
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         In summary, this Court’s decision to temporarily enjoin the Government from

   reviewing the seized documents for criminal investigative purposes pending the

   special master’s review was warranted so that all the seized materials may be

   appropriately reviewed and categorized.

         B.     Appointment of a Special Master is a necessary and prudent step
                to preserve the integrity of the process.

         This Court has provided more than adequate reasoning as to why a special

   master is needed to further review the documents in question. [ECF No. 64 at 14-

   19]. A special master is not an agent for either President Trump or the Government.

   The very purpose of a special master is to serve as a neutral third party, with

   appropriate authorization, reviewing documents to facilitate resolution of the parties’

   disagreements. In opposing any neutral review of the seized materials, the

   Government seeks to block a reasonable first step towards restoring order from chaos

   and increasing public confidence in the integrity of the process.

         The Government also continues to assert that President Trump is not

   permitted to claim executive privilege of documents in the custody of the Executive

   Branch. [ECF No. 69 at 8-12]. But the Court already expressed skepticism with the

   Government’s conclusory assertions regarding executive privilege. [See ECF No. 64




                anticipated claims of privilege. That inquiry remains for another
                day. For now, the circumstances surrounding the seizure in this
                case and the associated need for adequate procedural safeguards
                are sufficiently compelling to at least get [President Trump] past
                the courthouse doors.

   [ECF No. 64 at 12].
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   at 16–18]. The Government further noted to this Court that the Privilege Review

   Team has already conducted the necessary review to separate privileged documents

   from its investigation. [See ECF No. 64 at 14]. Notably, however, this Court correctly

   pointed out that the flaws in the Privilege Review Team’s processes—even if

   inadvertent—call into question the adequacy of its review. [See ECF No. 64 at 15-

   18].6   Considering   this,   the   Court   determined   that   “these   unprecedented

   circumstances call for a brief pause to allow for neutral, third-party review to ensure

   a just process with adequate safeguards.” [ECF No. 64 at 23].

           C.    The President had the power to declassify documents.

           The Government does not contest—indeed, it concedes—that the President has

   broad authority governing classification of, and access to, classified documents. [ECF

   No. 69 at 10, 18 (quoting Dep’t of Navy v. Egan, 484 U.S. 518, 529 (1988))]. In fact,

   the Government advocates that “the protection of classified information must be

   committed to the broad discretion of the agency responsible, and this must include

   broad discretion to determine who may have access to it.” [ECF No. 69 at 18 (quoting

   Egan, 484 U.S. at 529)]. Congress provided certain parameters for controlling

   classified information but primarily delegated to the President how to regulate




   6Specifically, the Court observed:
         As reflected in the Privilege Review Team’s Report, the Investigative
         Team already has been exposed to potentially privileged material. . . .
         [T]he Privilege Review Team’s Report references at least two instances
         in which members of the Investigative Team were exposed to material
         that was then delivered to the Privilege Review Team and, following
         another review, designated as potentially privileged material.
   [ECF No. 64 at 15 (citing ECF No. 40 at 6)].
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   classified information. 50 U.S.C. § 3161. At the same time, Congress exempted the

   President from complying with such requirements. See id. § 3163 (“Except as

   otherwise specifically provided, the provisions of this subchapter shall not apply to

   the President . . .”).

            President Obama enacted the current Executive Order prescribing the

   parameters for controlling classified information in 2009. See Exec. Order 13526 (Dec.

   29, 2009). That Executive Order, which controlled during President Trump’s term in

   office, designates the President as an original classification authority. See id.

   § 1.3(a)(1). In turn, the Executive Order grants authority to declassify information to

   either the official who originally classified the information or that individual’s

   supervisors—necessarily including the President. § 3.1(b)(1), (3). Thus, assuming the

   Executive Order could even apply to constrain a President, cf. 50 U.S.C. § 3163, the

   President enjoys absolute authority under the Executive Order to declassify any

   information. There is no legitimate contention that the Chief Executive’s

   declassification of documents requires approval of bureaucratic components of the

   executive branch. Yet, the Government apparently contends that President Trump,

   who had full authority to declassify documents, “willfully” retained classified

   information in violation of the law. See 18 U.S.C. § 793(e); [ECF No. 69 at 9].7

   Moreover, the Government seeks to preclude any opportunity for consideration of this

   issue.




   7 Of course, classified or declassified, the documents remain either Presidential
   records or personal records under the PRA.
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         D.     A former President          has   an     unfettered   right   to   access
                Presidential records.

         Pursuant to the PRA, a former President has an unfettered right of access to

   his Presidential records even though he may not “own” them. See 44 U.S.C. § 2205(3).

   Thus, contrary to the premise behind the Government’s “criminal” investigation, the

   determination of whether a former President timely provided documents to the

   National Archives and Records Administration is a civil matter governed by the PRA.

         All government records (classified or otherwise) fall into two basic categories,

   either under the PRA or the Federal Records Act (“FRA”). “The FRA defines a class

   of materials that are federal records subject to its provisions, and the PRA describes

   another, mutually exclusive set of materials that are subject to a different, less

   rigorous regime. In other words, no individual record can be subject to both statutes

   because their provisions are inconsistent." Armstrong v. Exec. Office of the President,

   1 F. 3d 1274, 1293 (D.C. Cir. 1993).

         The PRA further distinguishes records as either Presidential or personal. 44

   U.S.C. § 2201. Presidential records are defined as:

         documentary materials, or any reasonably segregable portion thereof,
         created or received by the President, the President's immediate staff, or
         a unit or individual of the Executive Office of the President whose
         function is to advise or assist the President, in the course of conducting
         activities which relate to or have an effect upon the carrying out of the
         constitutional, statutory, or other official or ceremonial duties of the
         President.

   44 U.S.C. § 2201(2). The PRA expressly excludes personal records from the definition

   of Presidential records. See id. § 2201(2)(B). Personal records are defined as

   “documentary materials, or any reasonably segregable portion therof, [sic] of a purely

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   private or nonpublic character which do not relate to or have an effect upon the

   carrying out of the constitutional, statutory, or other official or ceremonial duties of

   the President.” Id. § 2201(3).

         The PRA thus “distinguishes Presidential records from ‘personal records’” and

   “requires that all materials produced or received by the President, ‘to the extent

   practicable, be categorized as Presidential records or personal records upon their

   creation or receipt and be filed separately.’” Jud. Watch, Inc. v. Nat’l Archives & Recs.

   Admin., 845 F. Supp. 2d 288, 291 (D.D.C. 2012) (quoting 44 U.S.C. § § 2203(b)). “The

   categorization of the records during the Presidency controls what happens

   next . . . . The statute assigns the Archivist no role with respect to personal records

   once the Presidency concludes.” Id. (emphasis added). “The PRA contains no provision

   obligating or even permitting the Archivist to assume control over records that the

   President ‘categorized’ and ‘filed separately’ as personal records. At the conclusion of

   the President’s term, the Archivist only ‘assumes responsibility for the Presidential

   records.” Id. (quoting 44 U.S.C. § 2203(f)(1)). “[T]he PRA does not confer any

   mandatory or even discretionary authority on the Archivist to classify records. Under

   the statute, this responsibility is left solely to the President.” Id. at 301 (describing

   categorization decision by former President Clinton as not within the discretion of

   the Archivist as the subject materials “were not provided to the Archives at” the end

   of the Clinton presidency).

         Critically, the former President has sole discretion to classify a record as

   personal or Presidential. See Jud. Watch, Inc., 845 F. Supp. 2d at 301 (“Under the


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   statute, this responsibility is left solely to the President.”). The power of the Archivist

   is not greater than that of the President. Specifically, the PRA states “the Archivist

   of the United States shall assume responsibility for the custody, control, and

   preservation of, and access to, the Presidential records of that President.” 44 U.S.C.

   § 2203(f)(1). This section should not be interpreted as weakening a President’s

   authority under the Act. See Jud. Watch, Inc., 845 F. Supp. 2d at 300 (“[T]he plain

   language of section 2203(f) of the PRA does not say . . . that the Archivist must assume

   custody and control of all materials that fall within the definition of Presidential

   records.”).

          Accordingly, all of the records at issue in the Government’s motion fall into two

   categories: (1) Presidential records, governed exclusively by the Presidential Records

   Act; and (2) personal records, the determination of which was in President Trump’s

   discretion. See id. To the extent President Trump may have categorized certain of the

   seized materials as personal during his presidency, any disagreement as to that

   categorization is to be resolved under the PRA and cannot possibly form the basis for

   any criminal prosecution.

   IV.    THE GOVERNMENT WILL NOT SUFFER IRREPARABLE HARM

          A.     The Government ignores the distinction between an assessment
                  of national security, which is prospective, and a criminal
                  investigation, which is retrospective.

          The Government conflates two related, yet distinct issues: (1) potential damage

   to national security from allegedly mishandling classified information; and (2)

   criminal repercussions for allegedly mishandling classified information. The former


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   is forward looking—asking how the Government protects vital national interests on

   an ongoing basis through an assessment of whether national security information or

   sources have been compromised.8 The latter is backwards looking—assessing

   whether national security information was handled in a manner contrary to law.

   Certainly, it may be easier to perform these two functions in tandem. But the

   Government has wholly failed to show that these functions must be performed

   concurrently. Moreover, the Government incorrectly portrays the Court’s Order as

   categorically prohibiting any action that may yield information related to any

   criminal investigation. But the Court’s Order is not so broad. This Court recognized

   and acknowledged the importance of national security, and where the two actions are

   truly inseparable, the Court’s Order permits such action. [ECF No. 64 at 22, 24].

         The Government’s brief belies its own claim that a complete intelligence

   assessment cannot be disentangled from the criminal investigation. For example, the

   Government asserts that “a classification review informs the IC’s ‘national security

   risk assessment,’ and the FBI uses that review to inform its ‘criminal investigation

   into the potential mishandling of . . . national defense information,’ as to which

   classification status is highly relevant.” [ECF No. 69 at 13 (quoting Kohler Decl. ¶¶ 6,



   8 While the discovery of classified material in files containing Presidential records
   should not have been at all surprising, NARA allegedly became concerned about
   national security interests within weeks of the turnover by President Trump of fifteen
   boxes of records. Yet no notification was provided to Congress at that time. Moreover,
   rather than adhering to the PRA, NARA made an immediate criminal referral. Given
   the circumstances involve the possession by a former President of his own
   Presidential records at a location which had long been utilized to conduct the business
   of the United States, the pursuit of all other available civil mechanisms would,
   respectfully, have been a better exercise of prudential judgment.
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   7, ECF No. 69-1)]. In other words, the FBI needs the results of the intelligence

   community’s classification review to determine whether classified material has been

   mishandled. Again, the Government’s own analysis places this as a phased approach

   that can be effectuated within the temporary confines of the Court’s Order.

         Indeed, there may be limited circumstances in which a national security

   assessment may also relate to a criminal investigation. Although the Court’s Order

   references ODNI’s assessment of the national security risk, [ECF No. 64 at 19], the

   Order does not prohibit the FBI from participating in the national security

   assessment, id. at 24 (“The Government may continue to review and use the materials

   seized for purposes of intelligence classification and national security assessments.”).

   Thus, the Government’s concern that the FBI is prohibited from evaluating whether

   classified information has been compromised, [ECF No. 69 at 15], is unfounded.

         The operative language in the injunction is “purpose.” If an action’s “purpose”

   is to conduct a national security assessment, it may be undertaken even if it may

   reveal information related to a criminal investigation or require the use of “criminal

   investigative tools.” [ECF No. 69-1 at 5]. However, the Government cannot undertake

   an action in which the purpose is to further the criminal investigation until after the

   Special Master has completed the required review. Although this yields discretion to

   intelligence personnel engaged in the security assessment, such individuals must

   utilize such discretion judiciously to maintain the integrity of the Government in such

   unprecedented circumstances.




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         B.     A brief delay will not cause irreparable harm to the
                Government’s criminal investigation.

         As the Government has not demonstrated that it is likely to succeed on the

   merits of its appeal, it must demonstrate that the remaining stay factors tilt decidedly

   in favor of granting a stay. See Ruiz, 650 F.2d at 565; see also Virginian R. Co., 272

   U.S. at 672 (noting that a stay pending appeal “is not a matter of right, even if

   irreparable harm might otherwise result to the appellant”). With respect to the

   second stay factor, the Government has not demonstrated that the brief delay

   accompanying the Special Master’s review will cause irreparable harm to its criminal

   investigation.

         The Government contends that the injunction will cause irreparable harm to

   the criminal investigation because of an expected modest delay to accommodate the

   Special Master’s review.9 But, as the Court already opined, the Special Master’s

   review will improve the perception of “fairness and public trust”. [ECF No. 64 at 22].

         Moreover, the Government refutes its own contention of irreparable harm by

   listing numerous investigative actions it can conduct without contravening the

   injunction. [ECF No. 69 at 17]. Indeed, the Government already completed a

   preliminary review of the seized property. Id. at 22 n.20. That the Government has

   already reviewed the documents and can continue to conduct other investigative

   actions undercuts any notion of harm—let alone irreparable harm.




   9Notably, the affidavit in support of the Government’s motion does not assert that a
   brief delay in the investigation will cause any harm. [See generally ECF No. 69-1].
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         Without support, the Government contends that sharing “highly classified

   materials” with a Special Master would irreparably harm the Government and public.

   For example, the Government observes that “[t]he public has an ‘interest in the fair

   and expeditious administration of the criminal laws.” [ECF No. 69 at 16 (quoting

   United States v. Dionisio, 410 U.S. 1, 17 (1973)) (emphasis in motion)]. But in

   Dionisio and other decisions, the Supreme Court has treated expeditiousness as

   competing with interests of fairness to defendants.       The Government has not

   identified any precedent for the proposition that delay accompanying the neutral

   review of documents could cause harm to the Government so significant as to be

   “irreparable.” Moreover, any clearance and “need to know” concerns may be readily

   addressed.10

   V.    PRESIDENT TRUMP AND THE PUBLIC WOULD BE HARMED BY THE STAY

         As this Court correctly observed, a criminal investigation of this import—an

   investigation of a former President of the United States by the administration of his

   political rival—requires enhanced vigilance to ensure fairness, transparency, and

   maintenance of the public trust. [See ECF No. 64 at 22 (“[T]he investigation and

   treatment of a former president is of unique interest to the general public, and the

   country is served best by an orderly process that promotes the interest and

   perception of fairness.” (emphasis added))].




         10 As noted above in footnote 1, neither leaks nor the prospect of a public jury
   trial appear to raise any concerns regarding irreparable harm. Apparently, only the
   secure review by a Court appointed and supervised special master under controlled
   access conditions poses a risk to national security.
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         Given the significance of this investigation, the Court recognizes, as does

   President Trump, that it must be conducted in the public view. The Court has

   correctly directed commencement of a process which certainly benefits the

   Government, President Trump and the people of the United States. The Plaintiff

   respectfully submits any stay of the injunction or limitation on the scope of review

   only erodes public trust and the perception of fairness.

   VI.   CONCLUSION

         For the foregoing reasons, Plaintiff respectfully requests that the Court deny

   the Government’s motion for a partial stay pending appeal.



   Dated: September 12, 2022                      Respectfully submitted,

    Lindsey Halligan                              By: /s/ Christopher M. Kise
    Florida Bar No. 109481                        Christopher M. Kise
    511 S.E. 5th Avenue                           Florida Bar No. 855545
    Suite 1008                                    Chris Kise & Associates, P.A.
    Fort Lauderdale, FL 33301                     201 East Park Avenue
    Lindseyhalligan@gmail.com                     5th Floor
                                                  Tallahassee, FL 32301
    M. Evan Corcoran                              Telephone: (850) 270-0566
    SILVERMAN|THOMPSON|                           Email: chris@ckise.net
    SLUTKIN|WHITE, LLC
    400 East Pratt Street – Suite 900             James M. Trusty
    Baltimore, MD 21202                           Ifrah Law PLLC
    Telephone: (410) 385-2225                     1717 Pennsylvania Avenue N.W.
    Email: ecorcoran@silvermanthompson.com        Suite 650
    (pro hac vice)                                Washington, DC 20006
                                                  Telephone: (202) 524-4176
                                                  Email: jtrusty@ifrahlaw.com
                                                  (pro hac vice)

                                                  Counsel for Plaintiff
                                                  Donald J. Trump


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                            CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that on September 12, 2022, I electronically filed the

   foregoing document with the Clerk of the Court using CM/ECF. I also certify that

   the foregoing document is being served this day on all counsel of record via

   transmission of Notices of Electronic Filing generated by CM/ECF.

                                         /s/ Christopher M. Kise
                                        Christopher M. Kise




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